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 6     FIOOG ENRAAD

  7

  8                           IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE CENTRAL DISTRICT OF CALIFORNIA

I ()
11     AMERICAN CUSTOM GOLF CARS, INC. a)               CASE NO.
       California corporation, and REINIER )
12     HOOGENRAAD, an individual           )
                                           )            COMPLAINT FOR:
13                          Plaintiff,     )
                                           )            1. PATENT INFRINGEMENT
14                  vs.                    )            2. FALSE DESIGNATION OF
                                           )               ORIGIN
15 MARS   HELL   INTERNATIONAL       iNC a )            3. TRADEMARK INFRINGEMENT
   California corporation, SHENZHEN        )            4. UNFAIR COMPETITION
16 MARSHELL GREEN POWER CO., LTD.. a )                  5. TRADEMARK DILUTION
   Chinese corporation doing business in   )            6. UNFAIR BUSINESS PRACTiCES
17     California; DONG LI, an individual; and      )   7. BREACH OF CONTRACT
       DOES 1-10, inclusive,                        )
18                                                  )
                               Defendants.          )
19                                                  )
20

21                  Plaintiffs, AMERICAN CUSTOM GOLF CARS, INC.. a California corporation

22     (“ACGC”) and RETNIER HOOGENRAAD, an individual (“HOOGENRAAD’) for their

23     complaint against MARSHELL INTERNATIONAL, INC. (“MARSHELL”); SHENZHEN

24     MARSHELL GREEN POWER CO., LTD., a Chinese corporation (“SMGP”) and DON LI
       (“LI”), allege as follows.

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       iii
27     ‘‘I


       /1/
28     ill



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                                           JURISDICTION AND VENUE

 2                    1.   This is a claim for patent infringement arising under the United States Patent Act

 3        of 1952, as amended, 35 U.S.c §271                     and fbr related causes,    This Court has

 4        jurisdiction pursuant to 28 U.S.C. §l331 and 1338(a) and (b), and the Doctrine of Pendent

 S        Jurisdiction.



 7                    2    Venue is proper in this District pursuant to 28 U S C l39l(b) and (c)      in   that

 8        the individual Defendant is a resident of this District and the corporate defendants have an

 9        office in this District.

10
11                                                        PARTIES

12                    3.   Plaintiff ACGC is a Califrnia corporation with its principal office and place of

13        business in Chino. California. P1aintiffREINIERHOOGENRAAD is an individual domiciled

14        in Chino, California. HOOGENID and ACGC are collectively referred to herein as the

15        Plaintiffs.

16
17                    4.   Defendant MARSHELL INTERNATIONAL, INC. is a California corporation

18        with a principal office and place of business within this District,



20                    5.   Defendant SHENZHEN MARSHELL GREEN POWER CO. LTD. is Chinese

21        Corporation doing business xithin this judicial district

22

23                    6.   Plaintiffs are informed and believe, and thereupon allege, that Defendant SMGP

24        is a Chinese corporation, with a place of business within this District, and actively conducting

25        business in this District.

26   1:
27                    7.   Plaintiffs are informed and believe, and thereupon allege, that Defendant DONG

28        LI resides in Cota Dc Caza in Orange County, California, a location within this Districu

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      Plaintiffs are infbrmcd and believe that Defindants MARSI-IELL and SMUP are wholly o ned

 2    and controlled by Detèndant LI such that the     actions   of either corporaflon are also the actions

 3    of Defendant LI.

 4
                             ALLEGATIONS FOR ALL CLAiMS OF RELIEF
                   8     Prior to the acts complained ol heiein ACGC has been Lngaged in dLsicnlnL

     h manutcturing and selling distinctive golf     cars, which   are marketed and sold throughout the

 8    World.

 9

io                 9.    Plaintiffs are the registrant and owner of record of United States Patent No,

ii    D4425 17S, which design patent has been duly registered in the United States Patent and

 2    3 ra&maik Office for ornamental designs for golf calls (Patent No US D4425 175 issued

13    May 22. 2001). The golf car depicted in the design patent is sold by Plaintiff under the name

14    ‘California Roadster.” A copy of this patent is attached hereto as Exhibit “I.”

15
16                 10.   Among the other models of golf cars which ACGC has designed, manufactured

17    and sold, have been the California Roadster Limosine and Hummer H3. The Hummer H3 is

18    manufactured and sold under license from General Motors Corporation.



20                 11.   ACGC has manufactured the California Roadster model golfcar since 2000. and

21    during the years 2000 through 2013, over 8.500 cars were shipped to the United States from

22    ACGC’s manufacturing facility in China. The California Roadster golf car continues to be

23    manufactured by ACGC and marketed and sold throughout the world,

24

25                 12.   The appearance of the California Roadster golf car is inherently distinctive.

26    Plaintiffs are the owner and registrant of the mark California Roadsters’ United States Patent

27    and Trademark application #78926863 (the Trademark”).

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       OO3OO299WPD;1                 COMPLAINT FOR PATENT INFRINGEMENT
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                    13.   Prior to the acts of Defendants complained of in this Complaint. Plaintiffs’

 2     California Roadster has become and now is widely known and recognized by its distinctive

 3     appearance, which distinctive appearance is closely associated with said golf car as a means

 4     by which it is known and its source or origin is identified,



 6 1                14.   By reason of the matters aforesaid. the appearance and name of Plainti ffs’ golf
       car has become and now is Plaintiffs’ Frademark,

 8
 9                  15.   Prior to the acts of Defendants complained of in this Complaint, PlaintifR have
       used the mark Cahfoimi Roadsta in LonncLtlon             ath thL promotion advertising otfeaing ba

ii     sale, and sale of’ its California Roadster model golf car.

12

13                  16.   Plaintiffs are informed and believes, and thereupon alleges, that, notwithstanding

14     Plaintiffs’ well-known and prior use of and rights in the distinctive appearance of its Calilbrnia

15     Roadster golf car. with actual knowledge of Plaintiffs’ rights, Defendants, and each of them.

16     have engaged in the advertising, offering for sale and sale of a “new model classic” electric

17     golf carts, Models DN-41) and DN-6D, confusingly similar to Plaintiffs’ California Roadster.

18
19                  17.   Defendants’ models DN-4D DN-6D and Electric Antique Car (six seater), are
                                                       ,




20     each likely to be mistaken for or confused with Plaintiffs’ California Roadster. Defendants’

21     use of the distinctive appearance of Plaintiffs’ California Roadster is likely to create the

22     erroneous impression that Defendants’ Catalina models originated with Plaintiffs,                are

23     endorsed by Plaintiffs, are sponsored by Plaintiffs, and/or are connected in some way with

24     Plaintiffs,

25

26                  18.   ACGC is informed and believes, and thereupon alleges. that Defendants’ DN

27     4D, DN-6-D, and Electric Antique Car Six Seater (collectively ‘Defendants Models”) are

28     designed. manufactured, displayed. sold and used with the intent to benefit from ACOC’s

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 I   reputation in its California Roadster: to deceive the public as to the source of origin of the

 2   [)efendants’ Models: and to profit from the demand created by ACGC for its California

 3   Roadster.

 4

 5              19.   ACGC is informed and believes, and thereupon alleges, that the presence of

 6   Defendants’ Models in the marketplace damages the value of ACGC’s exclusive rights in the

 7   appearance of its golf car. The presence of the Catalina Cruiser in the marketplace is iikel\

     to diminish the apparent exclusivity of the appearance of the genuine California Roadster.
 8




 9

10              20.   Defendants have received written notice of Plaintiffs’ proprietary rights in the

11   appearance of its California roadster, Despite said knowledge, Defendants have continued to

12   infringe Plaintiff’s rights. On information and belief such infringement by Defendants         is

13   willful and vanton.

14
15              21.   On or about January. 2007, Plaintiffs and Defendant LI. individually and on

16   behalf of Defendant MARSHELL. entered into a written Confidentiality Agreement with

17   Plaintiffs, whereby Defendants agreed to keep all information related to the California

18   Roadster confidential. Plantiffs and Defendants were in discussions for the production of a

19   Boomerang” hybrid powered golf cart, utulizing the California Roadster design and a hybrid

20   electric and gas powered system. Pursuant to the signed Confidentiality Agreement, Plaintiffs

21   supplied Defendants with a sample California Roadster, as well as a sample Hummer 1-1-3 Golf

22   Car. The Hummer H-3 is manufactured and sold by Plaintiffs under license from General

23   Motors Corporation.

24

25              22.   The California Roadster and Hummer H-3 were provided to Defendants solely

26   for the purpose of estimating the cost for new tooling for SMPB to manufacture golf carts for

27   Plaintiffs in large scale form, to sell to the emerging global low speed vehicles market.

28


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 1               23.   On or about January, 2013. Defendants, and each of them, breached the

 2   Confidentiality Agreement by refusing to return the sample vehicles provided to Defendants

 3   and by manufacturing and selling vehicles utilizing the confidential property information

 4   provided by Plaintiffs.

 5
 6               24.   Defendants have manufactured and sold an unknown number of golf carts

 7   utilizing Plaintiffs’ confidential information at an ecomonic cost in lost sales to Plaintiffs in

 8   an amount to be provided at trial.

 9

io                                     FIRST CLAIM FOR RELIEF

ii               25.   Plaintiffs hereby incorporate by reference paragraphs I through 23, inclusive, of

12   this Complaint as if fully set forth and alleged at this point.

13
14               26.   This is an action for patent infringement, trademark infringement, unfair

15   competition, false designation of origin of goods, and false description or representation of

16   goods, and arises under 15 U.S.C. 1125(a), 35 U.S.C. §271 et. seq. and California Civil Code

17   §980.

18
19               27.   ACGC is informed and believes and thereupon alleges that Defendants’

20   simulation of the appearance and trade dress of ACGC’s California Roadster golf car

21   constitutes a false designation of origin, a false description representation of goods, and

22   wrongfully and falsely represents to the consuming public that Defendant’s Models originated

23   from or are endorsed by Plaintiffs or sponsored by Plaintiffs or connected in some way with

24   Plaintiffs. These acts amount to using a false designation of origin and a false description or

25   representation in interstate commerce to compete unfairly with ACGC and HOOGENRAAD.

26
27               28.   ACGC is informed and believes, and thereupon alleges, that the actions of

28   Defendants were done willfully, knowingly and maliciously with the intent to trade upon the

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 i     goodwill of ACGC and to injure ACGC and H000ENRAAD.



 3                   29.   The [)efendants’ acts are in violation of35 U.S.C. §271 and 15 U.S.C. § 1125(a).

 3     and have damaged Plaintiffs and will, unless restrained, further impair. if not destro\
       Plaintiffs’ trademarks and goodwill and Plaintiffs have no adequate remedy at law.

 6

 7                                       $OND CLAIM FOR RELIEF

 8                   30.   Plaintiffs hereby incorporate by reference paragraphs 1 through 29, inclusi\e. ul

 9     this Complaint as if fully set forth and alleged at this point.

10 I

11                   31.   This is an action for patent infringement and arises under 35 U.S.C. §271 and

12     under California Civil Code §981(b).

1

14                   32.   I)efendants’ design, manufacture, sale and use ofthe Models DN-4D and DN-6D

15     complained of herein constitutes infringement of Plaintiffs’ registered design, Patent No. U.S.

16     D442517S.

17

18                   33.   The conduct of Defendants as herein averred has damaged Plaintiffs and will.

19     unless restrained, further impair, if not destroy, the value of Plaintiffs’ patent and goodwill and

20     Plaintiffs have no adequate remedy at law.

21                   34.



23                                         THIRD CLAIM FOR RELIEF

24                   35.   Plaintiffs hereby incorporates by reference paragraphs 1 through 33. inclusive,

25     of this Complaint as if fully set forth and alleged at this point.

26

27                   36.   This is an action for breach of contract and common law unfair competition. and

28     arises under the statutes and common law of the State of California.

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 2                37.   liv reason of the public’s recognition and association 01 the product appearance

 3   of the ACGC model California Roadster. ACGC has acquired protectable rights in such

 4   appearance and trademark under the common law of the State of Califbrnia.

 )

 6                38.   By reason of the breach of the written Confidentiality Agreement between

 7   Plaintiffs and Defendants, Plaintiffs are damaged by each and every sale of Defendants’

 8   Models. The presence of which would not exist but for the information and samples b

 9   Plaintiffs to Defendants, pursuant to the Confidentiality Agreement.

10

ii                39.   Commencing on or about January, 2011, Defendants and each of them began

12   using the product appearance of ACGC’s California Roadster in commerce in such a manner

13   that is likely to cause confusion, misrepresentation, or to cause mistake or to deceive the public

14   or to cause the public to believe that the Defendants’ copy of said automobile is sponsored by,

15   approved by. affiliated with or connected with ACGC.

16
17                40.   Defendants’ actions are in violation of ACGC’s common law rights and

18   constitute unfair competition, and are in breach of the Confidentiality Agreement by and

19   between Plaintiffs and Defendants,

20
21                41.   By reason of the above actions, Plaintiffs have suffered and will continue lo

22   suffer irreparable injury to their rights and suffer substantial loss of goodwill and reputation

23   unless and until Defendants are restrained from continuing the wrongful acts, and Plaintiffs

24   have no adequate remedy at law.

25

26                                    FOURTH CAUSE OF ACTION

27                42.   Plaintiffs hereby incorporate by reference paragraphs 1 through 40, inclusive,

28   of this Complaint as if fully set forth and alleged at this point.

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     00300299,WPD;                  COMPLAINT FOR PATENT INFRINGEMENT
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 2               43.    This is an action br unftiir competition, and arises under Calitbrnia Businc:

 3   & Proftssions Code §17200

 4
 5               44.   Plaintiffs are informed and believe, and thereupon allege, that Defendants’ use

 6   of the product appearance of the California Roadster constitutes a false designation of origin.

 7   a false description or representation of goods, and wrongfully and falsely represents to the

 8   public that Defendants’ copy of the California Roadster originated from or somehow is

 9   authorized by or associated with Plaintiffs, These acts amount to using a false designation of

10   origin and a false description or representation to compete unfairly with Plaintiffs.

11
12               45.   Plaintiffs are informed and believe, and thereupon allege, that the actions of

13   Defendants are done willfully, knowingly, and maliciously with the intent to trade upon the

14   goodwill of ACGC and to injure ACGC and HOOGENRAAD.

15
                 46.   The Defendants’ acts are in violation o California Business & Professions Code

17   § 17200,      et. seq., and will continue to the great and irreparable harm of Plaintiffs unless

18   enjoined by this Court.

19
20                                      FIFTH CAUSE OF ACTION

21               47.   Plaintiffhereby incorporates by reference paragraphs 1 through 45, inclusive, of’

22   this Complaint as if fully set forth and alleged at this point.



24               48.    This is an action for trademark dilution, and arises under California Business

25   & Professions Code §14330,

26

27               49.   Defendants’ sales of a copy of ACGC’s California Roadster are likely to injure

28   Plaintiffs’ business reputation or to dilute the distinctive quality of Plaintiffs’ trademark in the

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  a   appearance of its automobile and its patented golf car.

  2
  3                50.   The conduct of Defendants as herein alleged has damaged Plaintiff and will.

  4   unless restrained, further impair, if not destroy, the value of Plaintiffs patent, trademark, and

  5   goodwill, and Plaintiff has no adequate remedy at law.

  6
  7                                       SIXTH CAUSE OF ACTiON

  8
  9                51.   Plaintiffhereby incorporates by reference paragraphs 1 through 49, inclusive, of

 10   this Complaint as if fully set forth and alleged at this point.

 11
 12                52.   Plaintiffs have done all things required ofthem to be done pursuant to the written

 13   Confidentiality Agreement by and between Plaintiffs and Defendants.

 14

 15                53.   On or about January, 2011, Defendants and each of them, breached the written

 16   Confidentiality Agreement by manufacturing, importing, exporting and selling models which

 17   are based on information provided to Defendants in confidence, pursuant to the written

 18   Confidentiality Agreement.

 19
 20                54.   Plaintiffs have been damaged in a sum subject to proof by Defendants’ import,

 21   export and sale of Defendants’ Models in breach of the Confidentiality Agreement.

 22

 23                                                  PRAYER

 24

 25                WHEREFORE, Plaintiff ACGC prays as follows:

 26
 27                1.    That Defendants be adjudicated to have violated the provisions of Title 15 of the

 28   United States Code §1 125(a) in competing unfairly with ACGC, by using a false designation

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           of origin and false description or representation in the copvin ol the appearance and trade

  2        dress of ACGC’s California Roadster golf car.



  4                     2.   That Defendants be adjudicated to have infringed Plaintifrs lCderaliy registered

  5’ patent No. U.S. D442517S.
  6.
  7                     3.   That Defendants be adjudicated to have competed unlirlv with ACGC under the

  8        common law of the State of California,

  9
 10                     4.   That Defendants be adjudicated to have violated Califbrnia Business

 11        Professions Code §14330 in injuring ACOC’s business reputation and in diluting the

 12        distinctive quality of Plaintiffs trademark in the appearance of its California Roadster goifcar
 I-,
 ii


 14                     5.   That Defendant be adjudicated to have breached the written Confidentiality

 15        Agreement.

 16
 17                     6.   That Defendants, their officers, agents, servants, employees and attorneys and

 18        those persons in active concert or participation with them, be enjoined and restrained from

 19        using the false designations, descriptions and representations complained of in this Complaint.

 20

 21                     7.   That Defendants, their officers. agents. servants, employees and attorneys and

 22        those persons in active concert or participation with them, be enjoined and restrained from

 23        using the false designations, descriptions and representations complained of in this Complaint.

 24

 25                     8.   That Defendants, their officers, agents, servants, employees and attorneys and

 26        those persons in active concert or participation with them, be enjoined and restrained from

 27    h   infringing Plaintiffs patent.

 28

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                   9.    That Defendants, their officers, agents, servants, employees and attorncs and

  2   those persons in active concert or participation with them, be enjoined and restrained from

  3   infringing Plaintiffs trademark in the distinctive appearance of its California Roadster golf car

  4   as complained of in this Complaint.



  6                10.   That Defendants, their officers, agents, servants, employees and attorneys and

      those pLrsons in active concert or participation 4ith them be enjoined and restrained horn

  8   competing unfairly with Plaintiff as complained of in this Complaint.

  9

 10                11.   That Defendants, their officers, agents, servants, employees and attorneys and

 ii   those persons in active concert or participation with them, be enjoined and restrained from

 12   injuring Plaintiffs business reputation or diluting the distinctive quality of Plaintiffs

 13   trademarks as complained of in this Complaint.

 14
 15                12.   That Defendants be required to make an equitable accounting to ACGC for any

 16   and all profits derived by it by reason of the acts complained of in this Complaint and that all

 17   such profits be awarded Plaintiff pursuant to 35 U.S.C. §289.

 18
 19                13.   That Defendants be directed to file with this Court and serve on ACGC within

 20   thirty (30) days after the service of the injunction, a report in writing under oath, setting tbrth

 21 U in detail the manner and form in which Defendants have complied with the injunction.
 22

 23                14.   That all labels, signs, prints, packages, wrappers, receptacles and advertisements

 24   in the possession, custody or control of Defendants and all plates, molds, matrices and other

 25   means of making the same, which might, if used, violate the injunction herein granted, be

 26   delivered up and destroyed as the Court shall direct.

 27                15.

 28

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                                                      ____




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                     16.   That an award of damages h awarded to Plaintiffs   pursuant   to the breach of the

   2    Confidentiality Agreement.
   2




   4                 17.   That an award of three times the amount of damacs [bund or assessed he

   5    awarded to Plaintiff pursuant to 35 U.S.C. §284.

   6

   7                 18.   That an award of reasonable costs, expenses and attorneys fees be a\varded

   8    against Defendants pursuant to 15 U.S.C. §1117(a) and 35 U.S.c. §285, and otherwise in

   9    accordance with law.

 10

 ii                  19.   That ACGC have such other and further relief as the circumstances of this cause

 12     may require and that this Court may deem just and proper.

 13

 14                                                    TURNER, REYNOLDS, GRECO & O’HARA

 15
        Dated:                                  By:              1)7
 16                                                    THOM’S A. GZCO
                                                       Attorneys tbr Plaintiffs
                                                                 1
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